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                                               5
                                                 Attorneys for Defendants
                                               6 BP SOLUTIONS LLC and AYR WELLNESS LLC

                                               7
                                                                               UNITED STATES DISTRICT COURT
                                               8
                                                                                      DISTRICT OF NEVADA
                                               9
                                              10 CHASE PAYNE, individually and on behalf             Case No. 2:21-cv-01578-RFB-BNW
                                                 of all other similarly situated,
                                              11
                                                                 Plaintiffs,                         STIPULATION AND ORDER TO
                                              12                                                     EXTEND TIME TO RESPOND TO
6385 S. RAINBOW BLVD., SUITE 220




                                                          v.                                         COMPLAINT (ECF No. 1-1)
   LAS VEGAS, NEVADA 89118




                                              13
                                                 BP SOLUTIONS LLC; AYR WELLNESS                      (Third Request)
                             (702) 833-1100




                                              14 HOLDINGS LLC,
                                                 EMPLOYEE(S)/AGENT(S) DOES 1-10; and
                                              15 ROE CORPORATIONS 11-20, inclusive

                                              16                 Defendants.

                                              17

                                              18          Chase Payne (“Plaintiff”) and Defendants BP Solutions LLC and Ayr Wellness Holdings
                                              19 LLC (“Defendants”) are exploring the possibility of an early resolution of this case and are in the

                                              20 process of gathering and informally sharing information to facilitate their discussions. The current

                                              21 deadline for Defendants to respond to Plaintiff’s complaint is November 2, 2021. The parties

                                              22 desire additional time to explore a resolution before Defendants are required to incur fees and

                                              23 costs to file a motion to dismiss and/or an answer to the complaint.

                                              24 ///

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                                                   Case 2:21-cv-01578-RFB-BNW Document 13
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                                               1          Therefore, Plaintiff and Defendants, by and through their respective counsel, hereby

                                               2 stipulate and agree that Defendants shall have an extension until December 17, 2021, to file their

                                               3 responses to Plaintiff’s complaint. This is the third request for such an extension.

                                               4 DATED: October 26, 2021                      GABROY LAW OFFICES

                                               5

                                               6
                                                                                              By             /s/ Kaine M. Messer
                                               7                                                     Christian J. Gabroy, NV Bar No. 8805
                                                                                                     Kaine M. Messer, NV Bar No. 14240
                                               8                                                     170 South Green Valley Parkway, Suite 280
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                                              10
                                                                                                     Attorneys for Plaintiff
                                              11                                                     CHASE PAYNE

                                              12
6385 S. RAINBOW BLVD., SUITE 220




                                                   DATED: October 26, 2021                    KING & DURHAM PLLC
   LAS VEGAS, NEVADA 89118




                                              13
                             (702) 833-1100




                                              14

                                              15                                              By             /s/ Matthew L. Durham
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                                              18
                                                                                                     Attorneys for Defendants
                                              19                                                     BP SOLUTIONS LLC and
                                                                                                     AYR WELLNESS LLC
                                              20

                                              21                                                  ORDER

                                              22          IT IS SO ORDERED.

                                              23
                                                          DATED: ______________________
                                              24                                                      UNITED STATES DISTRICT JUDGE
                                              25
                                                                                        Order
                                              26                            IT IS SO ORDERED

                                              27                            DATED: 1:39 pm, October 27, 2021


                                              28
                                                                            BRENDA WEKSLER
                                                                            UNITED STATES MAGISTRATE JUDGE
                                                                                                     -2-
